Case 2:24-cv-02604-SPG-JC      Document 38 Filed 09/12/24                Page 1 of 24 Page ID
                                      #:321




 1 C A M E R O N | J O N E S LLP

 2
     Indira J. Cameron-Banks (SBN 248634)
      indira@cameronjones.law
 3   Terrence M. Jones (SBN 256603)
 4    terrence@cameronjones.law
     407 N. Maple Dr., Grnd. 1
 6   Beverly Hills, California 90210
 7   Tel: 424.757.0585

 8 Attorneys for Defendants

 9 Clifford Harris and Tameka Harris

10
                        UNITED STATES DISTRICT COURT
11
                       CENTRAL DISTRICT OF CALIFORNIA
12
                                    WESTERN DIVISION
13

14
     JANE DOE, an individual                ) Case No.: 2:24-cv-02604-SPG-JC
15                                          )
16                           Plaintiff,     )
                                            ) DEFENDANT CLIFFORD
17         vs.                              ) HARRIS AND TAMEKA
18                                          ) HARRIS’S NOTICE OF
     CLIFFORD HARRIS, an individual PKA
                                            ) MOTION AND MOTION
     TI, TAMEKA HARRIS, an individual
19                                          ) TO DISMISS PLAINTIFF’S
     PKA Tiny, ABC Corp. 1-20, 123 Corp, and FIRST AMENDED
20                                          )
     DOES 1-20 inclusive,
                                            ) COMPLAINT PURSUANT TO
21                                          ) FED. R. CIV. P. 12(b)(6)
22                        Defendants.       )
                                            ) CRTM: 5C, First Street Courthouse
23                                          ) DATE: October 16, 2024
24                                          ) TIME: 1:30 p.m.
                                            )
25                                          ) Hon. Sherilyn Peace Garnett
26

27

28



                              Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 2 of 24 Page ID
                                       #:322



 1 TO THIS HONORABLE COURT, AND TO ALL PARTIES AND THEIR

 2 ATTORNEYS OF RECORD—

 3         PLEASE TAKE NOTICE that on October 16, 2024, at 1:30 p.m. or as soon
 4 thereafter as the matter may be heard, Defendants Clifford Harris and Tameka Harris

 5 will, and hereby do, move this Court, pursuant to Rule 12(b)(6) of the Federal Rules

 6 of Civil Procedure, for an order dismissing the First Amended Complaint (“FAC”) in

 7 its entirety, with prejudice on the grounds that (1) all the claims asserted in the FAC

 8 are time-barred because the statute of limitations for such claims has long expired

 9 over sixteen years ago, and (2) the FAC fails to allege facts to sufficiently establish

10 any of the claims asserted therein.

11         This motion will be made before the Honorable Sherilyn Peace Garnett, United
12 States District Judge, in Courtroom 5C at the United States Courthouse located at 350

13 West 1st Street, Los Angeles, California 90012. The motion follows the requisite

14 Local Rule 7-3 meet-and-confer discussion with opposing counsel, which began in

15 May 2024, in connection with the initial Complaint, which was plagued with the

16 same issues as the FAC.         To date, Rodney Diggs, the only attorney of record
17 representing Plaintiff has never communicated with undersigned counsel about this

18 case despite numerous overtures to do so. 1 However, I reached out via email to Mr.

19 Diggs on September 4, 2024 and September 6, 2024, to present and discuss the issues

20 as presented in the instant motion, but Mr. Diggs has not responded.

21

22

23
     1
            To date Rodney Diggs, has not communicated with undersigned counsel about
     this case. Instead, undersigned counsel’s communications, both directly and
24   indirectly, were directed to Tyrine Aman, a California provisionally licensed attorney
25   at Mr. Digg’s law firm, who is not admitted to practice in front of this Court, and
     Tyrone Blackburn, who is neither a part of Mr. Digg’s law firm nor licensed to
26   practice law in California or this Court. The redlined version of the FAC filed in this
27   case (Dkt. 37-1) indicates that both Ms. Aman and Mr. Blackburn have been removed
     from working on this case, and as such undersigned counsel attempted to meet and
28   confer with Mr. Diggs only about the FAC.
                                                     1
                              Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC      Document 38 Filed 09/12/24               Page 3 of 24 Page ID
                                      #:323



 1        This motion is based upon this Notice, the attached Memorandum of Points
 2 and Authorities, all pleadings, records, and other documents on file with the Court in

 3 this action, and upon such oral and/or documentary evidence as may be presented at,

 4 before, and after the hearing of this motion.

 5

 6 Dated: September 11, 2024            C A M E R O N | J O N E S LLP
 7
                                          /s/ Indira J. Cameron-Banks
 8                                      Indira J. Cameron-Banks
 9
                                        Attorneys for Defendants
10                                      Clifford Harris and Tameka Harris
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                    2
                             Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC      Document 38 Filed 09/12/24               Page 4 of 24 Page ID
                                      #:324



 1                         TABLE OF CONTENTS
     I.    INTRODUCTION………………………………………………………….……………….1
 2

 3 II.     RELEVANT BACKGROUND………………………………………….………………….2

 4
           A.   Procedural Background…………………………………………………………….2
 5         B.   Factual Allegations In The FAC……………………………………………………3
           C.   Legal Framework……………………………………………………………………4
 6

 7 III.    POINTS AND AUTHORITIES…………………………………………………………….5

 8
           A.   This Lawsuit, the Complaint, and All Claims Asserted
 9              Therein Are Barred by the Applicable Statute of Limitations…………………...5

10              1. CCP § 335.1: 2 Year Statute of Limitations for All Torts…………………………6
                2. CCP § 340.16(a): 2019 Expanded Statute of Limitations for Sexual Assault
11
                  Actions to Ten years………………………………………………………………...7
12              3. CCP § 340.16(b)(3): Applying 10 year Expanded Statute of Limitations
                  for Sexual Assault Actions to Conduct occurring after January 1, 2009…………...7
13              4. CCP § 340.16(e): Providing a One Year Window in 2023 For Actions Against
                  Entities Legally Responsible for the Attempted Cover-Up of Previous Sexual
14                Assault Actions……………………………………………………………………...8
15                a. CCP § 340.16(e) Provides For An Action Against Entities Only
                  b. CCP § 340.16(e) Provided a One Year Window for Filing Claims
16                   against Entities that Passed Eight Months Ago………………………………….9
                  c. CCP § 340.16(e)(2)(C) Requires Sufficient Allegations of a
17                   Cover Up of Previous Allegations of Sexual Assault to Have
                     Revived Any Claim Against an Entity in 2023…………………………………11
18                d. CCP § 340.16(e)(2)(C) Requires Sufficient Allegations that an
19                   Entity Is Legally Responsible For Damages Arising Out Of The
                     Purported Sexual Assault………………………………………………………14
20
           B.   Plaintiff Fails to Set Forth Sufficient Non-Conclusory, Factual
21              Allegations to Establish Any Cognizable Claims for Relief
                Against Defendants…………………………………………………………..…….16
22

23              1.     Plaintiff Fails to State a Claim for Battery, Sexual Battery or
                       Assault against the Harrises…………………………………………...……16
24              2.     Plaintiff Fails to State a Claim for Intentional Infliction
                      of Emotional Distress Against the Harrises…………………………………17
25
     IV.   CONCLUSION…………………………………………………………………………….18
26

27

28


                             Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC                           Document 38 Filed 09/12/24                             Page 5 of 24 Page ID
                                                           #:325




 1                                                       TABLE OF AUTHORITIES

 2 C.C.P. § 340.16 ........................................................................................................................... passim
   C.C.P. § 335.1 ................................................................................................................................. - 5 -
 3

 4 28 U.S.C. § 1441(a) ........................................................................................................................ - 2 -
   28 USC § 1332(a) ........................................................................................................................... - 2 -
 6

 7 Fed. R. Civ. P. 4 .............................................................................................................................. - 1 -
   Fed. R. Civ. P. 10 ............................................................................................................................ - 1 -
 8 Fed. R. Civ. P. 12 ................................................................................................................... - passim -

 9 Alma W. v. Oakland Unified Sch. Dist., 123 Cal.App.3d 133, 141 (1981) ................................... - 14 -

10
      Angie M. v. Superior Court 37 Cal.App.4th 1217, 1225 (1995) .................................................. - 16 -
11
      Ashcraft v. King, 228 Cal.App.3d 604, 609-610 (1998) ............................................................... - 17 -
12
      Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) ................................................................................... - 4 -
13
      Beal Bank, SSB v. Arter & Hadden, LLP, 42 Cal. 4th 503, 512, (2007) ...................................... - 11 -
14

15 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) ............................................................... - 4, 5 -

16 Conservation Force v. Salazar, 646 F.3d 1240, 1241–42 (9th Cir. 2011) ..................................... - 4 -

17 Davalos v. Sanguinetti, 2023 Cal. Super. LEXIS 83528 ........................................................ - 11, 13 -

18
   Debbie Reynolds Professional Rehearsal Studios v. Superior Court,
19 25 Cal.App.4th 222 (1994) ............................................................................................................ - 14-

20 Farmers Ins. Grp. v. Cty. of Santa Clara, 11 Cal.4th 992, 1005 (1995) ................................ - 14, 15 -

21 F. G. v. Weinberg, 2023 Cal. Super. LEXIS 58745, *6

22   (Cal. Sup. August 25, 2023)…………………………………………………….………….- 9, 12 -

23 Hughes v. Pair, 46 Cal.4th 1035, 1050-1051 (2009) .................................................................... - 17 -

24 I.J. v. Weinberg, 2023 Cal. Super. LEXIS 58920 ......................................................................... - 11 -

25 In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) ............................................... - 5 -

26
      Jackson v. Carey, 353 F.3d 750, 758 (9th Cir. 2003)……………………………...……………...- 5 -
27
      Jane Doe #21 (S.H.) v. CFR Enterprises, Inc., 93 Cal. App. 5th 1199 .................................. - 11, 12 -
28
      Jeffrey E. v. Central Baptist Church, 197 Cal.App.3d 718 (1988) ............................................... - 14 -


                                                 Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC                         Document 38 Filed 09/12/24                           Page 6 of 24 Page ID
                                                         #:326



 1
   John R. v. Oakland Unified School Dist., 48 Cal. 3d 438, 446 (1989) ......................................... - 12 -
 2 Karim-Panahi v. Los Angeles Police Dep't, 839 F.2d 621, 623 (9th Cir. 1988) ............................ - 5 -

 3
      Lien Huynh v. Chase Manhattan Bank, 465 F.3d 992, 997 (9th Cir. 2006) ................................... - 6 -
 4
      Lisa M. v. Henry Mayo Newhall Memorial Hospital, 12 Cal.4th 291 (1995) .............................. - 14 -
 5
      Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009) ........................................................ - 4 -
 6

 7 Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001) ..................................................................... - 4 -

 8 Ortega v. Pajaro Valley Unified School Dist.,

 9       64 Cal. App. 4th 1023, 1049 (1998) ........................................................................................... - 12-
10 Perez v. Van Groningen & Sons, Inc., 41 Cal.3d 962, 967 (1986) ............................................... - 14 -

11
      Rains v. Superior Court, 150 Cal.App.3d 933, 938 (1984) .......................................................... - 16 -
12
      Reese v. BP Exploration (Alaska) Inc., 643 F.3d 681, 690 (9th Cir. 2011) .................................... - 4 -
13
      Rita M. v. Roman Catholic Archbishop, 187 Cal.App.3d 1453, 1461 (1986) .......................... - 14 15-
14

15 Romano v. Rockwell Internat., Inc., 14 Cal. 4th 479, 488 (1996) .................................................. - 5 -

16 Sandoval v. Budget Rent A Car, No. LACV 20-07069-VAP, 2020 U.S. Dist. LEXIS 170692 ..... - 1 -

17 Shuttle Bus Leasing v. Edison Trans. LLC, No. CV 13-0675 BRO (OPx), 2013 WL 12200440, at *6
     n.7 (C.D. Cal. Aug. 26, 2013) ..................................................................................................... - 1 -
18

19 So v. Shin, 212 Cal.App.4th 652, 669 (2013) ......................................................................... - 16, 17 -

20 Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013) .............................................................. - 4 -

21 Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001) ......................................... - 5 -

22
      Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011) ....................................................................... - 4 -
23
      Vinayagam v. Pierce, 2023 U.S. Dist. LEXIS 159673, at *8
24      (N.D. Cal. Feb. 6, 2023)............................................................................................................ - 11 -

25 Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 969 (9th Cir. 2010). ...... - 6 -

26

27

28


                                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC        Document 38 Filed 09/12/24               Page 7 of 24 Page ID
                                        #:327



 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.      INTRODUCTION
 3         After this Court dismissed Plaintiff Jane Doe’s initial Complaint and all the
 4 claims asserted therein as untimely and time-barred, and granted her leave to amend,

 5 Plaintiff filed a First Amended Complaint (“FAC”) re-asserting the same dismissed,

 6 time-barred claims against Defendants Clifford Harris (“Mr. Harris”) and Tameka

 7 Harris (“Mrs. Harris”)(collectively “Harrises” or “Defendants”).

 8         The FAC continues to assert claims against the Defendants for sexual battery,
 9 battery, sexual assault, and intentional infliction of emotional distress, while dropping

10 the assertion of the negligence and false imprisonment claims initially asserted

11 against the Harrises. 1 However, Plaintiff continues to fail to set forth any allegations

12 to establish that the remaining claims are not time-barred by the applicable statute of

13 limitations. And notwithstanding the fact that the Harrises deny that any of the

14 alleged conduct even occurred, the FAC continues to fail to sufficiently allege facts to

15 establish any of the claims asserted against them in the FAC. Thus, again Defendants

16 seek to dismiss all the claims asserted against them in the FAC pursuant to Fed. R.

17

18

19

20
     1
            Instead these claims are instead asserted against Grand Hustle, LLC, an entity
     that has not been named as a defendant in the case caption as required by Fed. R. Civ.
21
     P. 10, and for which no summons has been sought or issued as required by Fed. R.
22   Civ. P. 4. As such it is unclear whether Plaintiff intends to make Grand Hustle, LLC
     an actual defendant in this case, or, as discussed herein, has just identified the entity
23
     as part of a futile attempt to circumvent the statute of limitations applicable to the
24   claims asserted against the Harrises. See Sandoval v. Budget Rent A Car, No. LACV
     20-07069-VAP, 2020 U.S. Dist. LEXIS 170692, at *17-18 (C.D. Cal. Sep. 3,
25
     2020)(finding that failure to include a party in the caption and serve that party with a
26   summons is fatal to any claim asserted against that party); see also Shuttle Bus
     Leasing v. Edison Trans. LLC, No. CV 13-0675 BRO (OPx), 2013 WL 12200440, at
27
     *6 n.7 (C.D. Cal. Aug. 26, 2013) (concluding the failure to include the defendant in
28   the caption of the complaint and in the summons “is fatal” despite the plaintiff
     identifying the defendant in the body of the complaint)
                                                    -1-
                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 8 of 24 Page ID
                                       #:328



 1 Civ. P. 12 (b)(6), and because there is no possible remedy for these deficiencies

 2 though amendment or otherwise, the Harrises seek dismissal, with prejudice.

 3 II.     RELEVANT BACKGROUND
 4         A.    Procedural Background
 5         On January 2, 2024, Plaintiff filed the initial Complaint in the Superior Court
 6 of the State of California, County of Los Angeles asserting the following causes of

 7 action based on conduct that occurred at an unspecified date in 2005 at an unspecified

 8 location in Los Angeles, California: sexual battery, battery, sexual assault,

 9 negligence, false imprisonment, and intentional infliction of emotional distress. (Dkt.

10 1)

11         On March 29, 2024, Defendants removed this action to the United States
12 District Court for the Central District of California pursuant to 28 U.S.C. § 1441(a),

13 as a matter over which this Court has original jurisdiction based on 28 USC §

14 1332(a), where there is diversity of citizenship between the parties, and the case in

15 controversy exceeds $75,000 (exclusive of interest and costs). (Dkt. 1) As explained

16 in the Notice of Removal, diversity jurisdiction exists because Plaintiff is a citizen of

17 the State of Texas, while Defendants are both citizens of the State of Georgia. (Id.)

18         On June 27, 2024, the Defendants moved to dismiss the initial Complaint with
19 prejudice pursuant to Fed. R. Civ. P. 12(b)(6) on the grounds that it (1) all the claims

20 asserted in the Initial Complaint were time-barred because the statute of limitations

21 for such claims had long expired (over sixteen (16) years at the time of the filing),

22 and (2) the Initial Complaint failed to allege facts to sufficiently establish any of the

23 asserted therein. (Dkt 29.) Defendants never opposed Defendants’ motion.

24

25

26

27

28

                                                   -2-
                              Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 9 of 24 Page ID
                                       #:329



 1        On August 8, 2024, this Court granted Defendants’ Motion to Dismiss with
 2 leave to amend. (Dkt. 36) On August 28, 2024, Plaintiff filed the FAC against the

 3 Harrises, adding additional facts and parties. 2

 4        B.     Factual Allegations In The FAC
 5        On an unspecified evening in 2005, at an “unknown club somewhere in Los
 6 Angeles, California,” Plaintiff alleges she met the Harrises. (FAC ¶ 40) Plaintiff was

 7 an adult at the time of this alleged encounter with the Harrises. (Id. ¶ 23) The FAC

 8 then sets forth a series of allegations about the encounter that occurred on that single

 9 unspecified evening in 2005. Plaintiff alleges that she voluntarily engaged in the

10 following conduct: attended an unknown club, at an unknown location in Los

11 Angeles, where the Harrises were allegedly present (Id. ¶ 40); ordered several drinks

12 while in the VIP section of said unknown club, and also drank from a cup handed to

13 her by Mrs. Harris (Id. ¶ 42); agreed to ride with the Harrises when they left the

14 unknown club and took more shots of alcohol while in the vehicle (Id. ¶ 43-44); went

15 with the Harrises into a hotel suite, undressed and showered with them (Id. ¶ 46-47;

16 58-59); undressed and showered with the Harrises (Id. ¶ 58-59);got into the bed with

17 them, watched a pornographic movie, allowed herself to be rubbed on her back (Id., ¶

18 63-67). The FAC then alleges that Plaintiff said no to continuing with the alleged

19 encounter after Mr. Harris attempted to slide his toes into her vagina, removed herself

20 from the bed, went to the bathroom and vomited and then fell asleep on the couch

21 (Id. ¶¶ 69, 75, 79-80) The FAC alleges that the Harrises, by Plaintiff’s own

22 admission, respected Plaintiff’s wishes and excluded Plaintiff from any further

23 interaction. (Id. ¶ 77)

24

25   2
          The Court ordered that any amended complaint would have to be accompanied
26 by a redlined version of the initial Complaint. (Dkt.36) However, the redlined
   version does not appear accurate as the signature line on the redlined version
27
   identifies Tyrone Blackburn as the attorney of record, although his name does not
28 appear on the initial Complaint, and he is not admitted to practice before this Court.
   (Dkt. 37-1 at 26-27)
                                                   -3-
                              Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 10 of 24 Page ID
                                       #:330



 1         And while the FAC does add factual allegations that differ from the initial
 2 Complaint, it does not allege that there was any interaction whatsoever with the

 3 Defendants after that brief alleged encounter that occurred on an unspecified date in

 4 2005.

 5         Instead, the FAC adds allegations about another individual named Kannon
 6 “Caviar” Cross and an entity named Grand Hustle LLC (Id. ¶ 7, 31) But again does

 7 not allege that this individual or the entity had any interaction with Plaintiff at any

 8 time past the day following the alleged encounter. (Id.¶ 99-104)

 9         C.    Legal Framework
10         A complaint “must contain sufficient factual matter, accepted as true, to ‘state a
11 claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

12 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is

13 facially plausible when it “allows the court to draw the reasonable inference that the

14 defendant is liable for the misconduct alleged.” Id. “[T]o survive a motion to

15 dismiss, the non-conclusory factual content, and reasonable inferences from that

16 content, must be plausibly suggestive of a claim entitling the plaintiff to relief.”

17 (emphasis added) Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009).

18 Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks a

19 cognizable legal theory or (2) fails to allege sufficient facts to support a cognizable

20 legal theory.” Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013).

21         “A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) for
22 failure to state a claim upon which relief can be granted ‘tests the legal sufficiency of

23 a claim.’” Conservation Force v. Salazar, 646 F.3d 1240, 1241–42 (9th Cir. 2011)

24 (quoting Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001)). A complaint must (1)

25 “contain sufficient allegations of underlying facts to give fair notice and to enable the

26 opposing party to defend itself effectively,” and (2) “plausibly suggest an entitlement

27 to relief, such that it is not unfair to require the opposing party to be subjected to the

28

                                                    -4-
                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 11 of 24 Page ID
                                       #:331



 1 expense of discovery and continued litigation.” Starr v. Baca, 652 F.3d 1202, 1216

 2 (9th Cir. 2011).

 3          When determining whether a claim has been stated, the Court accepts as true
 4 all well-pled factual allegations and construes them in the light most favorable to the

 5 plaintiff. Reese v. BP Exploration (Alaska) Inc., 643 F.3d 681, 690 (9th Cir. 2011).

 6 However, the Court need not “accept as true . . . allegations that are merely

 7 conclusory, unwarranted deductions of fact, or unreasonable inferences.” In re Gilead

 8 Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008) (internal quotation marks and

 9 citations omitted); see also Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th

10 Cir. 2001). As such, a complaint may be dismissed pursuant to Rule 12(b)(6) if a

11 plaintiff fails to proffer “enough facts to state a claim to relief that is plausible on its

12 face.” Twombly, 550 U.S. at 570.

13          Dismissal, pursuant to Fed. R. Civ. P. 12(b)(6), or otherwise, without leave to
14 amend, is proper when “it is absolutely clear that the deficiencies of the complaint

15 could not be cured by amendment,” Karim-Panahi v. Los Angeles Police Dep't, 839

16 F.2d 621, 623 (9th Cir. 1988) (internal quotation marks omitted), or when the Court

17 is satisfied that the deficiencies of the complaint could not possibly be cured by

18 amendment. Jackson v. Carey, 353 F.3d 750, 758 (9th Cir. 2003).

19
     III.   POINTS AND AUTHORITIES
20

21          A.    This Lawsuit, the Complaint, and All Claims Asserted Therein Are
22                Barred by the Applicable Statute of Limitations.
23          As an initial matter, all the claims asserted in the FAC continue to be time-
24 barred by the relevant statutes of limitations. And while the FAC states in conclusory

25 fashion that “[t]he applicable statute of limitations does not bar the claims asserted

26 herein,” (referencing C.C.P. § 340.16 (b) and (e) in particular), the FAC fails to

27 sufficiently allege any factual basis entitling Plaintiff to circumvent applicable

28

                                                    -5-
                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 12 of 24 Page ID
                                       #:332



 1 statutes of limitations, specifically those found in California’s Code of Civil

 2 Procedure § 335.1 and § 340.16. (FAC ¶¶ 14-22)

 3         The California Supreme Court has articulated that statutes of limitations are
 4 intended to “protect defendants from the necessity of defending stale claims and

 5 require plaintiffs to pursue their claims diligently.” Romano v. Rockwell Internat.,

 6 Inc., 14 Cal. 4th 479, 488 (1996) (explaining that statute of limitations are “designed

 7 to promote justice by preventing surprises through the revival of claims that have

 8 been allowed to slumber until evidence has been lost, memories have faded, and

 9 witnesses have disappeared.”) Indeed “even if one has a just claim it is unjust not to

10 put the adversary on notice to defend within the period of limitation and that the right

11 to be free of stale claims in time comes to prevail over the right to prosecute them.”

12 Id. When it is clear from the face of the Complaint that the statute of limitations has

13 run on the claims asserted therein, dismissal pursuant to Fed. R. Civ. P. 12(b)(6) is

14 appropriate. See Lien Huynh v. Chase Manhattan Bank, 465 F.3d 992, 997 (9th Cir.

15 2006); Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 969

16 (9th Cir. 2010).

17         At best, Plaintiff had up to December 31, 2007, to file the instant lawsuit based
18 on the facts alleged in the Complaint. Yet, Plaintiff did not file this instant lawsuit

19 until January 2, 2024 -- over sixteen (16) years past that statutory deadline, and

20 nineteen (19) years after the alleged wrongful conduct occurred. As such, the claims

21 asserted in the FAC are time-barred. Further, as is clear from Plaintiff’s second

22 attempt to circumvent the statute of limitations with the FAC, there is no factual basis

23 whatsoever upon which to redeem or revive any actionable claims by Plaintiff against

24 Defendants based on the 2005 encounter alleged in the FAC.

25               1.     CCP § 335.1: 2 Year Statute of Limitations for All Torts
26         When the alleged conduct at issue in this case allegedly occurred in 2005, the
27 only California statute of limitations applicable to all the claims asserted in the FAC

28 was C.C.P. § 335.1, establishing that “action[s] for assault, battery, or injury to, or for

                                                    -6-
                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC      Document 38 Filed 09/12/24               Page 13 of 24 Page ID
                                      #:333



 1 the death of, an individual caused by the wrongful act or neglect of another” must be

 2 filed within two (2) years from the conduct at issue. See C.C.P. § 335.1

 3        Thus, any lawsuit based on the allegations in the FAC in the would have had to
 4 have been brought sometime in 2007, and, as a result, the all the claims are

 5 absolutely time-barred by the statute of limitations after December 31, 2007.

 6               2.     CCP § 340.16(a): 2019 Expanded Statute of Limitations for
 7                      Sexual Assault Actions to Ten years

 8        Fourteen (14) years after the conduct alleged in this case allegedly occurred,
 9 and twelve (12) years after the statute of limitations expired for any claims based on

10 the alleged conduct, the California legislature enacted C.C.P. § 340.16(a), expanding

11 the statute of limitations for civil actions seeking recovery of damages as a result of

12 sexual assault (experienced as an adult) to the latter of ten (10) years from the

13 conduct itself, or three (3) years from discovery of the conduct. 3 See CCP §

14 340.16(a). When enacted, there was no provision for this limited expansion of the

15 statute of limitations to be applied retroactively. However, assuming arguendo, if

16 this statutory provision were applied retroactively, which it could not be, the claims

17 asserted in this case would still have been time-barred by Section 340.16(a)’s statute

18 of limitations after December 31, 2015.

19               3.     CCP § 340.16(b)(3): Applying 10 year Expanded Statute of
20                      Limitations for Sexual Assault Actions to Conduct occurring after
                        January 1, 2009
21

22        Indeed, two (2) years after California expanded the statute of limitations for
23 certain sexual assault cases -- sixteen (16) years after the alleged conduct in this case

24 allegedly occurred and fourteen (14) years after the statute of limitations expired for

25 any claims based on the alleged conduct -- the California legislature amended C.C.P.

26

27   3
         “Sexual Assault” is defined in subdivision (b)(1) as conduct described in
28 California Penal Code §§ 243.4, 261, 262, 264.1, 286, 287, or 289, or former §§ 262
   and 288a.
                                                   -7-
                              Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 14 of 24 Page ID
                                       #:334



 1 § 340.16(a) in 2022 to add subdivision (b)(3). This amendment expressly provided

 2 that otherwise time-barred civil actions even after the enactment of C.C.P. § 340.16

 3 (a), could be revived if the alleged sexual assault occurred on or after January 1,

 4 2009, and a lawsuit was filed before December 31, 2026. See C.C.P. § 340.16 (b)(3).

 5         The 2022 amendment does not apply to this lawsuit, which is solely based on
 6 conduct that occurred in 2005, because the California Legislature determined that it

 7 should only reach back to conduct that occurred on or after January 1, 2009. As such,

 8 even with this 2022 amendment, the claims asserted in the FAC against the

 9 Defendants are still time-barred as this lawsuit is brought more than sixteen (16)

10 years past the expiration of the applicable statute of limitation -- December 31, 2007.

11                4.    CCP § 340.16(e): Providing a One Year Window in 2023 For
12                      Actions Against Entities Legally Responsible for the Attempted
                        Cover-Up of Previous Sexual Assault Actions
13

14         The same 2022 amendment to C.C.P. § 340.16 adding subdivision (b)(3), also

15 provided for subdivision (e), which expressly provided a one-year window -- between

16 January 1, 2023 – December 31, 2023 -- to allow for the filing of civil actions against

17 entities otherwise barred by the statute of limitations, seeking recovery of damages as

18 a result of sexual assault (experienced as an adult) only if all three conditions exist:

19 (a) a plaintiff alleges that they were sexually assaulted; (b) That one or more entities

20 are “legally responsible for damages arising out of the sexual assault;” and (c) “[t]he

21 entity or entities, including but not limited to, their officers, directors, representatives,

22 employees, or agents, engaged in a cover up or attempted a cover up of a previous

23 instance or allegations of sexual assault by an alleged perpetrator of such abuse.” See

24 C.C.P. § 340.16(e)(1) and (2)(A)-(C). Here, however, the FAC fails to allege any

25 facts sufficient to revive any time-barred claims under C.C.P. § 340.16(e)(2)(A)-

26 (C).

27 //

28 //

                                                    -8-
                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 15 of 24 Page ID
                                       #:335



 1               a. CCP § 340.16(e) Provides For An Action Against Entities Only
 2         “Subsection (e), does not provide for the action against the [alleged]
 3 perpetrator, which is contained in (a). Subsection (e) is specific as to the company

 4 that covers up or attempts to cover up what had happened.” F. G. v. Weinberg, 2023

 5 Cal. Super. LEXIS 58745, *6 (Cal. Sup. August 25, 2023). As such, C.C.P. §

 6 340.16(e) does not provide a statutory basis for any of the claims asserted in the FAC

 7 against the Harrises – the only properly named, identified and served defendants

 8 currently in this action. Instead, C.C.P. § 340.16(e) provided a one year window that

 9 closed on December 31, 2023, for a Plaintiff to assert a claim for damages against an

10 entity from a purported sexual assault, regardless of when it occurred, only if the

11 Plaintiff sufficiently alleges that the entity engaged in a “cover up.”

12         Further to the extent that C.C.P. § 340.16(e)(5) states that if -- and only if -- a
13 Plaintiff satisfies all three requirements of subsection (e)(2), can the Plaintiff revive a

14 related claim arising out of the sexual assault that is the basis for the claim under

15 subsection (e)(2), specifically citing “wrongful termination” and “sexual harassment”

16 underscores that the legislature did not intend to revive time-barred claims against

17 other (non-entity) parties, including any potential individual defendants who are

18 expressly subject to the limitations periods set forth in § 340.16 (a) and (b), but only

19 otherwise time-barred claims (e.g. employment, contract claims that are not torts

20 subject to different statutes of limitations) against the same entity. 4

21         As discussed herein, the FAC does not sufficiently allege the necessary
22 requirements under § 340.16(e)(2) required to circumvent the statute of limitations on

23 any of Plaintiff’s claims against any entity. Regardless, Plaintiff cannot reasonably

24 use or rely upon subsection (e)(5) to magically revive claims against the Harrises,

25

26

27   4
          Subsection (e)(5) states “revives any related claims, including, but not limited
28 to, wrongful termination and sexual harassment, arising out of the sexual assault that
   is the basis for a claim pursuant to this subdivision.”
                                                    -9-
                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 16 of 24 Page ID
                                       #:336



 1 when any claims against them based on the alleged 2005 conduct are time-barred

 2 pursuant to C.C.P. § 335.1, as well as § 340.16 (a) and (b). (FAC ¶ 14-22)

 3

 4               b. CCP § 340.16(e) Provided a One Year Window for Filing Claims
                    against Entities that Passed Eight Months Ago
 5

 6         Plaintiff did not file any lawsuit under §340.16(e) until eight months past the

 7 express statutory window for doing so had closed on December 31, 2023. See C.C.P.

 8 § 340.16(e)(1). This action was filed on January 2, 2024, against the individual

 9 defendants only, without alleging any facts whatsoever about any entity being legally

10 responsible for the purported sexual assault, or any such coverup by a legal entity as

11 required by C.C.P. § 340.16(e)(2) in order to revive a time-barred claim under that

12 provision. It was not until eight months later -- on August 28, 2024, that Plaintiff

13 even identified an entity -- Grand Hustle, LLC (which remains unidentified in the

14 case caption, and against which no summons has been sought).
                                                                5


15         There is no discernible or reasonable justification for why Plaintiff would wait

16 over eight months past the express statutory deadline to file an action under C.C.P. §

17 340.16(e)(1) based on conduct that occurred nineteen years ago. The entity has not

18 been hidden, and easily discoverable. As discussed, § 340.16(e) does not even apply

19 to the Harrises, because they are individuals, not entities. But even if it could, the

20 action would still be time-barred as it was filed after the timeframe expressly set

21 forth in this subdivision (e) of the statute -- between January 1, 2023 – December 31,

22 2023, which the California legislature created with full knowledge that December 30-

23 31, 2023, fell on a weekend. Thus, any action necessarily would have had to have

24 been initiated on Friday, December 29, 2023, not January 2, 2024, and definitely not

25 eight months later on August 28, 2024.

26

27   5
         As discussed in fnte 1, supra, the failure to identify Grand Hustle, LLC in the
28 caption and serve such entity is fatal to Plaintiff’s ability to assert any claims against
   it.
                                                    - 10 -
                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC        Document 38 Filed 09/12/24               Page 17 of 24 Page ID
                                        #:337



 1        As a federal court, citing the California Supreme Court, noted in relation to a
 2 different statute of limitations, such statutes “reflect[] the balance the Legislature

 3 struck between a plaintiff's interest in pursuing a meritorious claim and the public

 4 policy interests in prompt assertion of known claims. The courts may not shift that

 5 balance by devising expedients that extend or toll the limitations period.” See

 6 Vinayagam v. Pierce, 2023 U.S. Dist. LEXIS 159673, at *8 (N.D. Cal. Feb. 6, 2023)(

 7 citing Beal Bank, SSB v. Arter & Hadden, LLP, 42 Cal. 4th 503, 512, (2007).

 8        In sum, to the extent that Plaintiff seeks to avail herself of the express one-year
 9 window within which to revive claims under § 340.16 (e), she did not even file this

10 action within the express statutory window, and in fact did not file under this specific

11 provision until eight months after the deadline had passed. Thus, Plaintiff is

12 absolutely time-barred from reviving any claim under subsection (e) – against an

13 entity or any individuals.

14               c. CCP § 340.16(e)(2)(C) Requires Sufficient Allegations of a Cover Up
15                  of Previous Allegations of Sexual Assault to Have Revived Any
                    Claim Against an Entity in 2023
16

17        The FAC fails to allege facts sufficient to establish that that any entity
18 “engaged in a cover up or attempted a cover up of a previous instance or allegations

19 of sexual assault by an alleged perpetrator of such abuse.” See C.C.P. §

20 340.16(e)(2)(C). The term “cover up” is defined as (1) “a concerted effort” (2) “to

21 hide evidence relating to a sexual assault” that (3) “incentivizes individuals to remain

22 silent or prevents information relating to a sexual assault from becoming public or

23 being disclosed to the plaintiff, including, but not limited to, the use of nondisclosure

24 agreements or confidentiality agreements.” C.C.P. § 340.16(e)(4)(A). A “concerted

25 effort” involves multiple actors within an entity working together to suppress

26 evidence, intimidate witnesses, or use legal tools like nondisclosure agreements to

27 silence victims and prevent them from speaking out about the assault. See Jane Doe

28

                                                     - 11 -
                                Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC      Document 38 Filed 09/12/24               Page 18 of 24 Page ID
                                      #:338



 1 #21 (S.H.) v. CFR Enterprises, Inc., 93 Cal. App. 5th 1199; I.J. v. Weinberg, 2023

 2 Cal. Super. LEXIS 58920, Davalos v. Sanguinetti, 2023 Cal. Super. LEXIS 83528.

 3         There are no allegations whatsoever in the FAC about the use of any
 4 nondisclosure agreements or confidentiality agreements at any time, let alone as part

 5 of a “concerted effort” to hide evidence, or silence anyone – including the Plaintiff.

 6 Specifically, there are no allegations whatsoever of any conduct constituting a “cover

 7 up” of any “previous instance or allegations of sexual assault” between 2003, when

 8 Grand Hustle, LLC was allegedly founded (FAC ¶ 7), and the unspecified date in

 9 2005 when Plaintiff’s alleged encounter with Defendants occurred as expressly

10 required under C.C.P. § 340.16(e)(2)(C). See Jane Doe #21 (S.H), 93 Cal. App. 5th at

11 1212.

12         Further, there are no plausible allegations that evidence of any sexual assault
13 was hidden, or that any individual was intimidated or harassed into silence about an

14 alleged sexual assault –including Plaintiff. And while insufficient to satisfy provision

15 (e)(2)(c), which specifically requires a cover up of a “previous instance of allegations

16 of sexual assault” by an entity, there are not even any factual allegations of a cover up

17 or attempted cover up of Plaintiff’s alleged encounter with Defendants. There are no

18 allegations in the FAC that she ever interacted with any Defendants past the

19 unspecified date in 2005 of the alleged encounter. Indeed, quite the opposite -- she

20 felt very free to discuss her circumstances with multiple people, including friends and

21 family members, and take her concerns to a public social media forum. 6 (FAC ¶ 108-

22 109, 111)

23

24
     6
         As such there are no factual allegations in the FAC that establish any remote
25
   possibility, let alone a plausible one, that the allegations in the Complaint give rise to
26 any viable claim against the Defendants based on any unconscionable conduct
   placing Plaintiff in any state of duress. See Weinberg, 2023 Cal. Super. LEXIS
27
   58745, *6-7, citing Ortega v. Pajaro Valley Unified School Dist., 64 Cal. App. 4th
28 1023, 1049 (1998); John R. v. Oakland Unified School Dist., 48 Cal. 3d 438, 446
   (1989)(citing the possibility, based on sufficient factual evidence that a defendant
                                                   - 12 -
                              Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 19 of 24 Page ID
                                       #:339



 1         Instead, the FAC relies on conclusory allegations, and regurgitation of the
 2 statutory definition of a “cover up” without the presentation of any factual allegations

 3 of such conduct by any entity. 7 (FAC ¶ 21) Simply stating that there was a “cover

 4 up” and reciting the statutory definition of a “cover up” is insufficient to state a claim

 5 under § 340.16(e)(2). See Davalos v. Sanguinetti, 2023 Cal. Super. LEXIS 83528,

 6 *6-7 ( “[r]ather than provide any specific facts related to the alleged coverup, Plaintiff

 7 just recites the definition of cover up from Section 340.16(e)(4)(A). This is not

 8 enough to satisfy this prong of the Revival Statute.”) The statute requires that any

 9 claims revived against entities under this provision are substantiated by concrete

10 factual allegations of concealment efforts by the responsible entities – a requirement

11 Plaintiff fails to meet at any level.

12         The absence of any plausible allegations of a cover up are fatal to Plaintiff’s
13 attempt to revive any time-barred claims in the FAC, all of which remain subject to

14 the two year statute of limitations under C.C.P. § 335.1.

15 ///

16 ///

17

18

19 may be estopped from asserting noncompliance with the statute of limitations if
     defendant “committed unconscionable acts and plaintiffs acted within a reasonable
20 time after the coercive effect of those acts had ended.”)

21   7
            The FAC seemingly makes a feeble, and wildly implausible, argument that
22   there was a cover up because when she woke up on the morning following the
     encounter that she voluntarily ended, she was not allowed to rifle through the room
23
     while Defendants were sleeping in the bed, unable to take the hotel robe with her, or
24   locate her undergarments, which she claimed contained “DNA evidence” of
     Defendants. (FAC ¶ 92-93) Being rushed out of the hotel room where Defendants
25
     were sleeping hardly amounts to “a concerted effort” by multiple entity employees to
26   suppress evidence or intimidate her, and did not, in fact, constitute as much because
     as Plaintiff describes the encounter in the FAC, she removed her clothes and
27
     showered before getting into the bed fully unclothed with the Harrises, and as such
28   there was no physical contact resulting in any “DNA evidence.”

                                                    - 13 -
                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 20 of 24 Page ID
                                       #:340



 1                d. CCP § 340.16(e)(2)(C) Requires Sufficient Allegations that an Entity
 2
                     Is Legally Responsible For Damages Arising Out Of The Purported
                     Sexual Assault
 3

 4         FAC fails to allege facts sufficient to establish that that any entity could be held
 5 “legally responsible” for any damages arising out of the purported 2005 encounter.

 6 See C.C.P. § 340.16(e)(2)(B). “Legally responsible” is defined as meaning that “the

 7 entity or entities are liable under any theory of liability established by statute or

 8 common law, including, but not limited to, negligence, intentional torts, and vicarious

 9 liability.” C.C.P. § 340.16(e)(4)(C).

10          An employer may only be held legally responsible for tortious conduct by an
11 employee if the tort is committed within the course and scope of employment. Perez

12 v. Van Groningen & Sons, Inc., 41 Cal.3d 962, 967 (1986). Further “an employer

13 will not be held vicariously liable for an employee’s malicious or tortious conduct if

14 the employee substantially deviates from the employment duties for personal

15 purposes.” Farmers Ins. Grp. v. Cty. of Santa Clara, 11 Cal.4th 992, 1005 (1995)

16 (emphasis added)(“ if an employee’s tort is personal in nature, mere presence at the

17 place of employment and attendance to occupational duties prior or subsequent to the

18 offense will not give rise to a cause of action against the employer under the doctrine

19 of respondeat superior.”) Indeed, it is well-established that an employer entity cannot

20 generally be held vicariously liable for an employee’s individual and independent

21 acts of sexual misconduct. 8 Nor does an employer have any obligation to indemnify

22

23   8
      . See, e.g., Lisa M. v. Henry Mayo Newhall Memorial Hospital, 12 Cal.4th 291
24   (1995) (hospital not liable under doctrine of respondeat superior for technician’s
     sexual assault of a patient); Debbie Reynolds Professional Rehearsal Studios v.
25
     Superior Court, 25 Cal.App.4th 222 (1994) (dance studio not vicariously liable for
26   sexual abuse of student by instructor); Jeffrey E. v. Central Baptist Church, 197
     Cal.App.3d 718 (1988) (church not liable under respondeat superior for molestation
27
     of student by Sunday school teacher); Rita M. v. Roman Catholic Archbishop, 187
28   Cal.App.3d 1453, 1461 (1986) ((“Plaintiffs could not seriously contend that sexual
     relations with parishioners are either required by or instant to a priest’s duties.”);
                                                    - 14 -
                               Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC      Document 38 Filed 09/12/24               Page 21 of 24 Page ID
                                      #:341



 1 a sexual harasser, even though the wrongful acts occurred during work hours and on

 2 the employer’s premises. See Farmers Ins. Grp, supra, 11 Cal.4th at 1005.

 3        Notwithstanding that the FAC fails to sufficiently set forth factual allegations
 4 of any sexual assault and/or battery, or false imprisonment or negligence against any

 5 party, the FAC fails to set forth any specific allegations that the Harrises, after

 6 retiring to their hotel room where they slept overnight, were engaged in occupational

 7 duties when they showered and got into the hotel bed with Plaintiff, who voluntarily

 8 disrobed, showered, and got into bed with them. Indeed the FAC specifically states

 9 as much stating that the purported “false imprisonment” serving as the basis of

10 Plaintiff’s claim against Grand Hustle, LLC, occurred for Harrises “own sexual

11 gratification” -- not any purported employment duties. (FAC ¶ 27)

12        FAC does not trigger Code of Civil Procedure § 340.16(e). Subdivision (e)
13 only revives claims that allege an “entity” is both (1) “legally responsible” for the

14 plaintiff’s injuries and (2) engaged in a “cover up” of other acts of sexual assault.

15 The FAC does not set forth allegations to satisfy these two requirements. As such,

16 there is no provision of C.C.P. § 340.16 whatsoever that provides safe harbor for any

17 of Plaintiff’s claims asserted in the FAC against any defendants (actual or intended),

18 including the Harrises.

19

20

21

22 ///

23 ///

24

25

26
   Alma W. v. Oakland Unified Sch. Dist., 123 Cal.App.3d 133, 141 (1981) (the
27
   employee’s “act of rape was not an integral part of a course of action on behalf of his
28 employer, but rather an independent, self-serving pursuit wholly unrelated to his
   custodial duties.”);
                                                   - 15 -
                              Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC      Document 38 Filed 09/12/24               Page 22 of 24 Page ID
                                      #:342



 1         B.    Plaintiff Fails to Set Forth Sufficient Non-Conclusory, Factual
 2
                 Allegations to Establish Any Cognizable Claims for Relief Against
                 Defendants.
 3

 4         The FAC amended the causes of action that Plaintiff is pursuing against
 5 the Harrises to sexual battery (count 1), battery (count 2), sexual assault (count 3),

 6 and intentional infliction of emotional distress (count 6). The remaining causes of

 7 action – negligence (count 4), and false imprisonment (count 5) – are asserted against

 8 Grand Hustle, LLC, an entity which has not been named in the caption and for which

 9 no summons has been sought or issued. 9

10

11               1.     Plaintiff Fails to State a Claim for Battery, Sexual Battery or
                        Assault against the Harrises
12

13         The first three causes of action for Battery, Sexual Battery and/or Sexual

14 Assault share a fundamental element – lack of consent. For battery and sexual

15 battery, a plaintiff must establish generally that a defendant intended to cause a

16 harmful or offensive touch or contact with a plaintiff and that she “did not consent to”

17 such touch or contact. See So v. Shin, 212 Cal.App.4th 652, 669 (2013)(elements of

18 battery generally); Angie M. v. Superior Court 37 Cal.App.4th 1217, 1225 (1995)

19 (1995) (applying elements to sexual battery). “The element of lack of consent to the

20 particular contact is an essential element of battery.” Rains v. Superior Court, 150

21

22   9
       Plaintiff’s claims against Grand Hustle, LLC for negligence and/or false
23   imprisonment necessarily fail as the FAC fails to sufficiently allege factual
     allegations from which it can be plausibly inferred that the entity either breached a
24   legal duty to use due care against Plaintiff, required to state a cause of action for
25   negligence, see Ladd v. County of San Mateo, 12 Cal.4th 913, 917 (1996), or
     somehow would be responsible for some “nonconsensual, intentional confinement”
26   of Plaintiff,” see Scofield v. Critical Air Medicine, Inc., 45 Cal.App.4th 990, 1001
27   (1996). However, as these claims are not being asserted against the Harrises, the only
     defendants named in the Caption and served with a summons and complaint in this
28   action, they are not necessarily before the Court at this time.
                                                   - 16 -
                              Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC      Document 38 Filed 09/12/24               Page 23 of 24 Page ID
                                      #:343



 1 Cal.App.3d 933, 938 (1984). “As a general rule, one who consents to a touching

 2 cannot recover in an action for battery. . . . However, it is well-recognized a person

 3 may place conditions on the consent. If the actor exceeds the terms or conditions of

 4 the consent, the consent does not protect the actor from liability for the excessive

 5 act.” Ashcraft v. King, 228 Cal.App.3d 604, 609-610 (1998). Lack of consent is also

 6 a necessary element of a claim for assault. See Shin, 212 Cal. App. 4th. at 668-669.

 7         While the FAC repeatedly asserts the conclusory allegation that Plaintiff “did
 8 not consent” to being touched by Harrises, the factual allegations set forth in the

 9 FAC do not give rise to a plausible inference that she lacked consent. The salacious

10 detailed factual allegations set forth in the FAC reflect that Plaintiff voluntarily, and

11 consciously, participated in the alleged 2005 encounter up to the point when she said

12 “no” and removed herself from the bed with Defendants, who honored her expressed

13 desire to leave the encounter, go to the bathroom, sit on a couch until the morning,

14 and then leave. (FAC ¶¶ 69-80).

15               2.     Plaintiff Fails to State a Claim for Intentional Infliction of
16                      Emotional Distress Against the Harrises
17         To establish a claim for intentional infliction of emotional distress (“IIED”), a
18 plaintiff must allege “extreme and outrageous conduct by the defendant with the

19 intention of causing, or reckless disregard of the probability of causing, emotional

20 distress.” Hughes v. Pair, 46 Cal.4th 1035, 1050-1051 (2009). Here no such

21 “extreme and outrageous conduct” is alleged by the FAC, which instead sets forth

22 factual allegations detailing Plaintiff’s intentional, voluntary, conscious and active

23 participation in the encounter

24         Again, the FAC fails to establish either one of these necessary elements but
25 instead establish that (a) Plaintiff voluntarily, consciously, and actively participated in

26 an alleged sexual encounter where all the details were explained to her at the outset

27 before she agreed to participate (FAC. ¶ 56), and (b) Defendants did not prevent the

28 Plaintiff from ending the encounter, going to the bathroom, resting on the couch,

                                                   - 17 -
                              Motion to Dismiss the First Amended Complaint
Case 2:24-cv-02604-SPG-JC       Document 38 Filed 09/12/24               Page 24 of 24 Page ID
                                       #:344



 1 and/or leaving the room (Id. at ¶ 69-80). Moreover, the factual allegations

 2 demonstrate Defendants acted with due care and diligence to allow Plaintiff to care

 3 for herself physically, and emotionally, during the alleged encounter – the exact

 4 antithesis of “extreme and outrageous conduct.”

 5

 6 IV.    CONCLUSION

 7        For a second time, Plaintiff has filed a complaint that presents long time-barred

 8 claims that cannot be revived under any statute. There is no possibility of an

 9 amendment that could cure this fatal defect. Moreover, the FAC continues to rely on

10 conclusory statements, and not factual allegations that sufficiently establish that

11 Plaintiff has any viable claim against the Harrises. As such, Defendants respectfully

12 request the Court dismiss the Complaint in its entirety, with prejudice, pursuant to

13 Fed. R. Civ. P. 12(b)(6).

14

15

16 Dated: September 12, 2024              C A M E R O N | J O N E S LLP

17                                          /s/ Indira J. Cameron-Banks
                                          Indira J. Cameron-Banks
18

19                                        ATTORNEYS FOR DEFENDANTS
20                                        CLIFFORD HARRIS, and TAMEKA
21                                        HARRIS,
22

23

24

25

26

27

28

                                                    - 18 -
                               Motion to Dismiss the First Amended Complaint
